                Case 2:15-cr-00115-TLN Document 94 Filed 04/28/16 Page 1 of 2


1    ERIN J. RADEKIN
     Attorney at Law - SBN 214964
2    428 J Street, Suite 350
     Sacramento, California 95814
3    Telephone: (916) 446-3331
     Facsimile: (916) 447-2988
4
     Attorney for Defendant
5    TOU HER

6

7                            IN THE UNITED STATES DISTRICT COURT

8                          FOR THE EASTERN DISTRICT OF CALIFORNIA

9

10   UNITED STATES OF AMERICA,              )    2:15-CR-00115 TLN
                                            )
11                             Plaintiff,   )    STIPULATION AND ORDER
                                            )    TO CONTINUE JUDGMENT AND
12   v.                                     )    SENTENCING
                                            )
13                                          )
     TOU HER,                               )
14                                          )
                             Defendant.     )
15   __________________________________     )

16
                                         STIPULATION
17
           Plaintiff, United States of America, by and through its counsel,
18
     Assistant United States Attorney Matthew M. Yelovich, and defendant, Tou Her,
19
     by and through his counsel, Erin J. Radekin, agree and stipulate to vacate
20
     the date set for judgement and sentencing, May 12, 2016 at 9:30 a.m., in the
21
     above-captioned matter, and to continue judgment and sentencing to July 28,
22
     2016 at 9:30 a.m. in the courtroom of the Honorable Troy L. Nunley.
23
           In addition, the parties stipulate to the following modification to the
24
     schedule of disclosure relating to the pre-sentence report (“PSR”):
25
           Motion for correction of PSR          July 14, 2016
26
           Reply, or non-opposition              July 21, 2016
27

28



                                     Stipulation and Order - 1
                Case 2:15-cr-00115-TLN Document 94 Filed 04/28/16 Page 2 of 2


1          The reason for this request is to allow the defense time to do

2    investigation into mitigating circumstances relevant to sentencing.           The

3    Court is advised that Mr. Yelovich and United States Probation Officer Lynda

4    Moore concur with this request and Mr. Yelovich has authorized Ms. Radekin to

5    sign this stipulation on his behalf.

6          Accordingly, the parties respectfully request the Court adopt this

7    proposed stipulation.

8    IT IS SO STIPULATED

9    Dated: April 27, 2016                          BENJAMIN WAGNER
                                                    United States Attorney
10
                                            By:      /s/ Matthew M. Yelovich
11                                                  MATTHEW M. YELOVICH
                                                    Assistant United States Attorney
12

13   Dated: April 27, 2016                           /s/ Erin J. Radekin
                                                    ERIN J. RADEKIN
14                                                  Attorney for Defendant
                                                    TOU HER
15

16                                          ORDER

17         For the reasons set forth in the accompanying stipulation and

18   declaration of counsel, the judgment and sentencing date of May 12, 2016 at

19   9:30 a.m. is VACATED and the above-captioned matter is set for judgment and

20   sentencing on July 28, 2016.

21         IT IS FURTHER ORDERED that the schedule of disclosure be modified as

22   follows:

23         Motion for correction of PSR             July 14, 2016

24         Reply, or non-opposition                 July 21, 2016

25   IT IS SO ORDERED.

26   Dated: April 28, 2016

27
                                                    Troy L. Nunley
28
                                                    United States District Judge


                                     Stipulation and Order - 2
